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                            No. 23-10078


        IN THE UNITED STATES COURT OF APPEALS
                FOR THE FIFTH CIRCUIT


                    SUSAN NEESE; JAMES HURLY,
                                          Plaintiffs-Appellees,
                                    v.
XAVIER BECERRA, IN HIS OFFICIAL CAPACITY AS SECRETARY OF
HEALTH AND HUMAN SERVICES; UNITED STATES OF AMERICA,
                                          Defendants-Appellants.


           On Appeal from the United States District Court
                for the Northern District of Texas


           BRIEF FOR DEFENDANTS-APPELLANTS


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                 CERTIFICATE OF INTERESTED PERSONS

      A certificate of interested persons is not required, as defendants-appellants are

all governmental parties. 5th Cir. R. 28.2.1.
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               STATEMENT REGARDING ORAL ARGUMENT

      Plaintiff doctors brought a pre-enforcement challenge under the Administrative

Procedure Act (APA) to a U.S. Department of Health and Human Services (HHS)

Notice of Interpretation. That document informs the public that, consistent with

Bostock v. Clayton County, 140 S. Ct. 1731 (2020), and Title IX of the Education

Amendments of 1972, HHS will interpret and enforce the prohibition against sex

discrimination in Section 1557 of the Patient Protection and Affordable Care Act,

Pub. L. No. 111-148, 124 Stat. 119 (2010), to include discrimination on the basis of

sexual orientation and gender identity. 86 Fed. Reg. 27,984, 27,985 (May 25, 2021).

      Although plaintiffs willingly treat and diagnose transgender patients, and do not

discriminate on the basis of sexual orientation, the district court concluded that they

had demonstrated a credible threat of enforcement sufficient to confer standing to

challenge the Notice of Interpretation. The district court also held that plaintiffs’

challenge was reviewable under the APA. Finally, the district court held that Bostock’s

reasoning for its conclusion that Title VII’s prohibition against sex discrimination

encompasses discrimination on the basis of sexual orientation and gender identity

does not apply to the prohibitions against sex discrimination in Title IX and Section

1557. Because these are important issues implicating the jurisdiction of the courts and

the proper application of a recent Supreme Court decision, the government believes

that oral argument would aid in the consideration of this appeal.


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                                  INTRODUCTION

       This appeal involves a pre-enforcement challenge to a Notice of Interpretation

issued by the U.S. Department of Health and Human Services, which explains HHS’s

interpretation of Section 1557 of the Affordable Care Act. That document informs

the public that, consistent with the Supreme Court’s decision in Bostock v. Clayton

County, 140 S. Ct. 1731 (2020), and Title IX, HHS will “interpret and enforce Section

1557’s prohibition on discrimination on the basis of sex to include: (1) Discrimination

on the basis of sexual orientation; and (2) discrimination on the basis of gender

identity.” 86 Fed. Reg. 27,984, 27,985 (May 25, 2021).

       Plaintiffs are two doctors who, based on the record in this case, do not

discriminate on the basis of sexual orientation or gender identity in providing medical

care and have no intention to do so. Indeed, plaintiffs willingly treat and diagnose

transgender patients, including by managing their hormone therapy. Plaintiffs are

concerned, however, that HHS will conclude that they have discriminated on the basis

of gender identity if they refuse to provide services outside their specialty area, such as

declining to assist a minor with transitioning because they are not familiar with

managing the gender transition of a patient who is going through puberty; or if they

provide medically appropriate care to transgender patients consistent with their

physiological sex characteristics, such as recommending that a transgender man

undergo a pelvic exam or diagnosing a transgender woman with prostate cancer.
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      Plaintiffs brought this action on behalf of a proposed class of “all health-care

providers subject to section 1557,” ROA.107, arguing that HHS’s Notice of

Interpretation is unlawful under the APA. While acknowledging that the rationale of

Bostock applies to Title IX and Section 1557, plaintiffs argued that Bostock nevertheless

permits doctors to discriminate on the basis of sexual orientation and gender identity

so long as they would have acted in the same manner if the patient had been a

member of the opposite “biological sex.” ROA.102-103, ¶¶ 16-20. The government

moved to dismiss on a variety of grounds, arguing (among other things) that plaintiffs

lacked standing to pursue a pre-enforcement challenge to HHS’s Notice of

Interpretation and that the notice is not reviewable under the APA. The government

also defended the Notice of Interpretation on the merits in its motion for summary

judgment.

      The district court rejected the government’s threshold jurisdictional defenses,

certified a broad class of “all health-care providers subject to Section 1557,” and

declared the Notice of Interpretation unlawful. On the merits, the court went even

further than plaintiffs had urged, holding that Bostock’s reasoning does not apply to

Title IX or Section 1557 at all, and that those statutes do not prohibit discrimination

on the basis of sexual orientation or gender identity. ROA.1205.

      The district court made multiple errors. First, the court wrongly concluded

that plaintiffs had satisfied the high bar to demonstrate pre-enforcement standing.

Plaintiffs have not demonstrated that their conduct is proscribed by Section 1557 or
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that they face a credible threat of enforcement under Section 1557 sufficient to confer

standing under Article III. Indeed, HHS’s 2022 Notice of Proposed Rulemaking

(NPRM) interpreting Section 1557 underscores that the agency does not view

plaintiffs’ intended conduct as gender-identity discrimination. See 87 Fed. Reg.

47,824, 47,866, 47,867 (Aug. 4, 2022) (explaining that the proposed rule would not

require doctors to perform services outside their normal specialty area, or prohibit

doctors from “treating an individual for conditions that may be specific to their sex

characteristics,” such as treating a transgender man with a pregnancy test).

       Second, plaintiffs’ claims are not reviewable under the APA. HHS’s Notice of

Interpretation is not final agency action, as it does not determine any legal rights or

obligations. Additionally, plaintiffs have an adequate alternative remedy that

forecloses any APA claims: they may challenge HHS’s interpretation of discrimination

on the basis of sex, outlined in the Notice of Interpretation, in any enforcement

action that is ever brought against them. Plaintiffs’ challenge is also independently

barred by Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 216 (1994), as Congress

intended the administrative enforcement proceedings to be an exclusive remedy.

       Third, Bostock’s rationale for concluding that Title VII’s prohibition against sex

discrimination encompasses sexual-orientation and gender-identity discrimination

applies to the prohibitions against sex discrimination in Title IX and Section 1557.

HHS’s Notice of Interpretation is thus lawful. Even assuming, as the Court did in

Bostock, that sex refers only to “biological” sex, “it is impossible to discriminate against
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a person for being homosexual or transgender without discriminating against that

individual based on sex.” Bostock, 140 S. Ct. at 1739, 1741. The district court did not

explain how an entity could discriminate on the basis of sexual orientation or gender

identity without also discriminating based on sex, and the court thus erred in holding

that HHS’s Notice of Interpretation was unlawful.

                        STATEMENT OF JURISDICTION

       Plaintiffs invoked the jurisdiction of the district court pursuant to 28 U.S.C.

§§ 1331 and 1343, ROA.99, but the district court’s jurisdiction is contested on

multiple grounds. See infra Parts I, II. The district court entered its order granting in

part and denying in part the parties’ motions for summary judgment on November

11, 2022. ROA.1168. The government filed a timely notice of appeal on January 20,

2023. ROA.1207. This Court has jurisdiction under 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUES

       1.     Whether plaintiffs have standing to challenge HHS’s Notice of

Interpretation interpreting Section 1557 to prohibit discrimination based on gender

identity and sexual orientation, where they face no credible threat of enforcement

from HHS because they do not discriminate on the basis of sexual orientation and

they treat transgender patients without objection.

       2.     Whether HHS’s Notice of Interpretation is reviewable under the APA.




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      3.     Whether the district court erred in ruling that HHS’s Notice of

Interpretation is contrary to law, based on its conclusion that the rationale of Bostock

does not apply to Title IX and Section 1557.

                           STATEMENT OF THE CASE

      A.     Statutory Background
      Section 1557 of the Affordable Care Act prohibits, as relevant here, “any health

program or activity” “receiving Federal financial assistance” from discriminating

against an individual based on “ground[s] prohibited under” several other statutes.

42 U.S.C. § 18116(a). One of the specified statutes is Title IX of the Education

Amendments of 1972, which prohibits discrimination “on the basis of sex.”

20 U.S.C. § 1681(a).

      In Bostock v. Clayton County, 140 S. Ct. 1731 (2020), the Supreme Court held that

Title VII’s prohibition against discrimination “because of” sex encompasses

discrimination because of sexual orientation and transgender status. Id. at 1737-1741.

The Supreme Court reasoned that “[a]n employer who fires an individual for being

homosexual or transgender fires that person for traits or actions it would not have

questioned in members of a different sex.” Id. at 1737. Because “[s]ex plays a

necessary and undisguisable role in the decision,” the Court held that such

discrimination is prohibited by the plain text of Title VII. Id.

      In May 2021, HHS issued a “Notification of Interpretation and Enforcement

of Section 1557 . . . and Title IX” to inform the public that, consistent with Bostock

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and Title IX, HHS would “interpret and enforce Section 1557’s prohibition on

discrimination on the basis of sex to include: (1) Discrimination on the basis of sexual

orientation; and (2) discrimination on the basis of gender identity.” 86 Fed. Reg. at

27,985. The Notice of Interpretation emphasizes that it “will guide [the Office for

Civil Rights (OCR)] in processing complaints and conducting investigations, but does

not itself determine the outcome in any particular case or set of facts.” Id.

      In July 2022, HHS issued an NPRM, which proposed to interpret Section

1557’s prohibition against sex discrimination to include discrimination on the basis of

gender identity and sexual orientation. 87 Fed. Reg. at 47,824. The NPRM proposed

that covered entities must not “[d]eny or limit health services, including those that are

offered exclusively to individuals of one sex, to an individual based upon the

individual’s sex assigned at birth, gender identity, or gender otherwise recorded.” Id.

at 47,918 (proposed 45 C.F.R. § 92.206(b)(1)). In the preamble, HHS explained that

under this proposed provision, “a covered entity that routinely provides gynecological

or obstetric care could not deny an individual a pelvic exam or pregnancy-related care

because the individual is a transgender man.” Id. at 47,865. Similarly, a covered entity

“could not refuse to provide a transgender woman a prostate cancer screening

because her sex is listed female in her electronic health record, if the entity otherwise

provides these screenings to cisgender individuals.” Id. at 47,865-47,866.

      Additionally, the NPRM explained that the proposed rule does not “prohibit a

covered entity from treating an individual for conditions that may be specific to their
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sex characteristics.” 87 Fed. Reg. at 47,866. For example, it would be permissible for

a covered entity to treat a transgender man with a pregnancy test. Id.

       The NPRM also explained that “[n]othing in this section requires the provision

of any health service where the covered entity has a legitimate, nondiscriminatory

reason for denying or limiting that service.” 87 Fed. Reg. at 47,918 (proposed 45

C.F.R. § 92.206(c)). The proposed rule “does not require health care professionals to

perform services outside of their normal specialty area; therefore a provider that

declines to provide services outside its specialty area would have a legitimate,

nondiscriminatory reason for its action.” Id. at 47,867; see also id. at 47,866.

       B.     Factual Background
       Plaintiffs are two doctors who treat and diagnose transgender patients without

objection. Plaintiff Dr. Susan Neese practices general internal medicine for adults.

ROA.610. She does not accept patients below the age of 16 and instead refers them

to a pediatrician. ROA. 726:16-727:11. Dr. Neese testified that she does not

discriminate on the basis of sexual orientation and conceded that she was not harmed

when HHS interpreted Section 1557 to prohibit sexual-orientation discrimination.

ROA.611 (“I treat gay and lesbian patients frequently, if not daily. I cannot recall ever

refusing care to any of them.”); ROA.616; ROA.617; ROA.722:6-723:16. Dr. Neese

has adult patients who are transgender, and she manages their hormone therapy

without objection. ROA.420, ¶ 8 (“I have several . . . transgender patients[] for whom

I manage their hormones and all their other medical conditions. These patients are all
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in their 30s or 40s.”); ROA.420, ¶ 7; ROA.611 (“I do not refuse to provide [my

transgender patients] services.”).

      Dr. Neese is “categorically unwilling to prescribe puberty blockers or hormone

therapy to minors, or to assist a minor with transitioning.” ROA.420, ¶ 10. She

explained that this is because the transition of minors is “not [her] area of specialty”

and she would not be “comfortable [managing] a teenager transition due to the

complexity of the medical and emotional issues that case would present.” ROA.420,

¶ 9; ROA.611; ROA.731:3-13 (testifying that she is “not familiar” with the medical

processes for managing gender transition for a patient who is going through puberty).1

For these reasons, she refused on one occasion to take on a 16-year-old patient who

sought hormone therapy for gender transition. ROA.420, ¶ 9; ROA.611. Dr. Neese

asserts that she does not believe that a refusal to provide hormone therapy to minors

is discrimination on the basis of gender identity, but she is concerned that HHS will

consider it as such. ROA.423; ROA.616.

      Dr. Neese also asserts that she is concerned that HHS will conclude that she

has engaged in gender-identity discrimination if she recommends medically

appropriate care to transgender patients consistent with their physiological sex

characteristics, such as recommending that a transgender man undergo a pap smear or


      1
        Plaintiffs alleged in the amended complaint that Dr. Neese is “unwilling to
provide referrals for minors seeking a sex-change operation.” ROA.104, ¶ 23. But
Dr. Neese testified that she does not accept patients below the age of 16 for any
reason and instead refers them to a pediatrician. ROA.726:16-727:11.
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a breast exam. ROA.421-422, ¶¶ 14-16; ROA.612-614. Dr. Neese explained that she

has an adult transgender male patient who was assigned female at birth who refused

to allow her to conduct pap smears and breast examinations and refused a pelvic

ultrasound to diagnose pelvic pain. ROA.421, ¶¶ 13-15; ROA.612-613. Dr. Neese

asserts that she does not believe that “insisting that patients obtain preventive care

consistent with their biological sex constitutes ‘discrimination on the basis of gender

identity’” but that she believes that HHS “would regard that as discriminatory because

it fails to affirm the gender identity that the patient is asserting.” ROA.423, ¶ 20;

ROA.615-616.

      Plaintiff Dr. James Hurly is a pathologist who diagnoses patients based on

laboratory analyses. ROA.459; ROA.658. Dr. Hurly testified that he does not

discriminate on the basis of sexual orientation and conceded that he was not harmed

when HHS interpreted Section 1557 to prohibit sexual-orientation discrimination.

ROA.660-661; ROA.778:7-22. Dr. Hurly is concerned, however, that HHS will

conclude that he has engaged in gender-identity discrimination if he diagnoses a

transgender patient with a condition consistent with that patient’s sex assigned at

birth. ROA.460, ¶¶ 7-11; ROA.659-660. According to Dr. Hurly, a pathologist in his

medical group once diagnosed a transgender female patient who was assigned male at

birth with prostate cancer, and the patient called the medical group’s secretary and

denied that she had prostate cancer, insisting that she could not have a prostate.

ROA.460, ¶ 7; ROA.659; ROA.784:15-786:20.
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      C.     Prior Proceedings

      Plaintiffs filed suit challenging HHS’s Notice of Interpretation on behalf of a

proposed class of “all health-care providers subject to section 1557 of the Affordable

Care Act.” ROA.107. Plaintiffs alleged that the Notice of Interpretation was

unlawful under the APA because HHS misinterpreted Bostock. ROA.108. In their

view, Bostock’s reasoning permits medical providers to discriminate on the basis of

sexual orientation or gender identity, so long as they would have acted in the same

manner if the patient had been a member of the opposite “biological sex.” ROA.102-

103, ¶¶ 16-20. Plaintiffs requested that the district court hold unlawful and set aside

the Notice of Interpretation, enjoin HHS from enforcing its interpretation of Section

1557, and issue a declaratory judgment. ROA.109.

      1.     The government filed a motion to dismiss, arguing that plaintiffs lacked

standing and that their challenge was not ripe. ROA.123-146. The government also

argued that the court lacked subject-matter jurisdiction because the Notice of

Interpretation is not “final agency action” under the APA; Section 1557 and Title IX

provide an adequate and exclusive alternative remedy; and Congress intended to

preclude pre-enforcement judicial review by providing an elaborate procedural

scheme for administrative enforcement proceedings under Section 1557. ROA.146-

153. Finally, the government argued that plaintiffs failed to state a claim because the

notice is consistent with Bostock and Title IX. ROA.153-159.


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       The district court denied the government’s motion to dismiss. First, the court

held that plaintiffs have standing because the Notice of Interpretation creates a

“credible threat of enforcement” by simply stating that HHS “will interpret ‘Section

1557’s prohibition on discrimination on the basis of sex to include’ both

‘[d]iscrimination on the basis of sexual orientation’ and ‘discrimination on the basis of

gender identity,’” and explaining that HHS’s interpretation of Section 1557 will

“‘guide [OCR] in processing complaints and conducting investigations.’” ROA.257

(first alteration in original) (first quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149,

161 (2014); and then quoting 86 Fed. Reg. at 27,984, 27,985). The court concluded

that plaintiffs are at risk of enforcement because they alleged that they have

“(1) refused requested treatments to help [transgender] patients or (2) refused to abide

[by] the . . . preferences of some [transgender] patients.” ROA.260.

       Second, the district court held that plaintiffs’ challenge was ripe because it

presents a pure question of law and plaintiffs will endure hardship from delayed

review because they will feel pressure to change their medical practice. ROA.263-267.

       Third, the district court held that the Notice of Interpretation is final agency

action reviewable under the APA. ROA.265-267. The court also rejected the

government’s argument that plaintiffs have an adequate alternative remedy under

5 U.S.C. § 704 because they may defend against any future enforcement of Section

1557 under the express administrative and judicial review provisions provided by

Congress. ROA.268-269. The court reasoned that requiring plaintiffs to wait to make
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their arguments in an enforcement proceeding would defeat the purpose of a pre-

enforcement challenge. ROA.269. The court did not address the government’s

argument that plaintiffs’ challenge is barred under Thunder Basin Coal Co. v. Reich, 510

U.S. 200 (1994), because Congress provided an elaborate procedural scheme for

administrative enforcement proceedings under Section 1557 that culminates in the

opportunity for judicial review. See ROA.152-153.

       2.     Following the denial of the government’s motion to dismiss, the

government took discovery related to standing. Plaintiffs filed a motion to certify the

proposed class, and the district court certified a class of “[a]ll health-care providers

subject to Section 1557 of the Affordable Care Act.” ROA.1204. The parties filed

cross-motions for summary judgment.

       The district court granted plaintiffs’ motion for summary judgment in large

part, concluding that the Notice of Interpretation was unlawful, but on different and

broader grounds than plaintiffs had urged. ROA.1174 n.3 (explaining that the court

would not “address[] the substance of Plaintiffs’ arguments” because it disagreed with

their premise). Plaintiffs argued that Bostock applies to Title IX and Section 1557 but

permits medical providers to discriminate on the basis of sexual orientation and

gender identity so long as they would have acted in the same manner if the patient had

been a member of the opposite “biological sex.” ROA.409-412. In contrast, the

district court flatly held that “Bostock does not apply to Section 1557 or Title IX” at all,


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ROA.1173, and that, unlike Title VII, these statutes do not prohibit discrimination on

the basis of sexual orientation or gender identity, ROA.1172-1192.

       The court reasoned that Title VII and Title IX use different language: Title VII

prohibits discrimination “because of sex,” and Title IX prohibits discrimination “on

the basis of sex.” ROA.1173; ROA.1179-1180 (quotation marks omitted). The court

also relied on a provision of Title IX stating that educational institutions can

“maintain[] separate living facilities for the different sexes,” 20 U.S.C. § 1686, and a

Title IX implementing regulation stating that educational institutions “may provide

separate toilet, locker room, and shower facilities on the basis of sex,” 34 C.F.R.

§ 106.33. ROA.1181. The court reasoned that “[i]f ‘on the basis of sex’ included

‘sexual orientation’ and ‘gender identity,’ . . . Title IX and its regulations would be

nonsensical.” ROA.1181. The court concluded that because Title IX does not

prohibit discrimination on the basis of sexual orientation or gender identity, neither

does Section 1557.

       Turning to remedy, the court declared HHS’s Notice of Interpretation unlawful

and declared that “Plaintiffs and members of the certified class need not comply with

the interpretation of ‘sex’ discrimination adopted by” HHS in the Notice of

Interpretation, and that “Section 1557 of the [Affordable Care Act] does not prohibit

discrimination on account of sexual orientation and gender identity, and the

interpretation of ‘sex’ discrimination” in Bostock “is inapplicable to the prohibitions on

‘sex’ discrimination” in Title IX and Section 1557. ROA.1205; see also ROA.1187-
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1192. The court denied injunctive relief because plaintiffs did not brief the relevant

factors. ROA.1187; ROA1192.

       The government filed a timely notice of appeal. ROA.1207.

                           SUMMARY OF ARGUMENT

       I.     The district court erred in holding that plaintiffs have standing to

challenge HHS’s Notice of Interpretation. To demonstrate pre-enforcement standing,

a plaintiff must show “an intention to engage in a course of conduct arguably affected

with a constitutional interest, but proscribed by a statute, and there exists a credible

threat of prosecution thereunder.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159

(2014). Plaintiffs have not even attempted to demonstrate that their intended course

of conduct—refusing to provide services outside their specialty, and providing

medically appropriate care to transgender patients consistent with their physiological

sex characteristics—are affected with a constitutional interest.

       Moreover, plaintiffs have not demonstrated that their intended course of

conduct is proscribed by Section 1557 or that they face a credible threat of

enforcement under Section 1557. Both plaintiffs testified that they have not engaged

in sexual-orientation discrimination and do not intend to do so. And plaintiffs have

not demonstrated that they intend to engage in any conduct that HHS views as

gender-identity discrimination. Indeed, HHS’s 2022 NPRM explains that the

proposed rule would “not require health care professionals to perform services

outside of their normal specialty area,” 87 Fed. Reg. at 47,867, and would not
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“prohibit a covered entity from treating an individual for conditions that may be

specific to their sex characteristics,” such as treating a transgender man with a

pregnancy test, id. at 47,866.

       II.    Aside from standing, there are at least three additional threshold barriers

to judicial review of plaintiffs’ challenge. First, HHS’s Notice of Interpretation is not

“final agency action” within the meaning of the APA. That document only informs

the public of the agency’s interpretation of Title IX and Section 1557 following the

Supreme Court’s decision in Bostock v. Clayton County, 140 S. Ct. 1731 (2020). It does

not alter legal rights or obligations or mandate any particular result in any future

enforcement proceeding.

       Second, plaintiffs have an adequate alternative remedy that forecloses APA

review of their pre-enforcement challenge. If HHS or any individual attempts to

enforce Section 1557 against plaintiffs based on the interpretation in the challenged

Notice of Interpretation, plaintiffs would be able to challenge HHS’s interpretation of

discrimination on the basis of sex at that time.

       Third, plaintiffs’ challenge is independently barred under Thunder Basin Coal Co.

v. Reich, 510 U.S. 200 (1994), because Congress provided an elaborate procedural

scheme for administrative enforcement proceedings that culminates in the

opportunity for judicial review. See 42 U.S.C. § 18116(a) (incorporating the

enforcement mechanisms under referenced statutes, including Title IX); see also 20

U.S.C. § 1682 (administrative process under Title IX); id. § 1683 (judicial review under
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Title IX). That comprehensive scheme demonstrates that Congress did not intend for

pre-enforcement judicial review of Section 1557 claims.

       III.   On the merits, the district court erred in holding HHS’s Notice of

Interpretation unlawful. Contrary to the court’s view, the Supreme Court’s reasoning

for its conclusion in Bostock—that Title VII’s prohibition against sex discrimination

encompasses discrimination on the basis of sexual orientation and gender identity—

applies to the prohibitions against sex discrimination in Title IX and Section 1557.

HHS’s challenged Notice of Interpretation is thus lawful.

       As the Supreme Court explained in Bostock, “it is impossible to discriminate

against a person for being homosexual or transgender without discriminating against

that individual based on sex.” 140 S. Ct. at 1741. Under Title IX and Section 1557, a

covered entity discriminates on the basis of sex when it discriminates on the basis of

sexual orientation or gender identity. Indeed, the Fourth and Ninth Circuits have

concluded that Bostock applies to Title IX. See Grimm v. Gloucester Cty. Sch. Bd., 972

F.3d 586, 616-619 (4th Cir. 2020), reh’g en banc denied, 976 F.3d 399 (4th Cir. 2020), cert.

denied, 141 S. Ct. 2878 (2021); Doe v. Snyder, 28 F.4th 103, 113-114 (9th Cir. 2022). The

district court thus erred in going out of its way to embrace a theory—that Bostock’s

reasoning does not apply at all—that is broader than what plaintiffs argued. See

ROA.1174.




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                               STANDARD OF REVIEW

        This Court reviews questions of subject-matter jurisdiction and grants of

summary judgment de novo. National Football League Players Ass’n v. National Football

League, 874 F.3d 222, 225 (5th Cir. 2017) (per curiam); In re Louisiana Crawfish Producers,

852 F.3d 456, 462 (5th Cir. 2017).

                                      ARGUMENT

   I.        Plaintiffs Lack Standing.

        1.      To establish standing under Article III, a plaintiff must demonstrate that

it has suffered a concrete injury, or that such an injury is “imminent” or “certainly

impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). In a pre-

enforcement challenge like this one, a plaintiff can satisfy that standard by proving

“an intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and there exists a credible threat of prosecution

thereunder.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014). However,

pre-enforcement review is the exception, not the rule. See Whole Woman’s Health v.

Jackson, 142 S. Ct. 522, 537-538 (2021) (making clear that there is no “unqualified right

to pre-enforcement review” and that many statutory and constitutional rights “are as a

practical matter asserted typically as defenses,” not in “pre-enforcement cases”).

        As an initial matter, plaintiffs have not even attempted to demonstrate that

their intended course of conduct—refusing to provide services outside their specialty,

and providing medically appropriate care to transgender patients consistent with their
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physiological sex characteristics—is affected with a constitutional interest. See

ROA.166-179; ROA.408-409. Unlike the cases in which the Supreme Court and this

Court have recognized pre-enforcement standing, plaintiffs do not assert an intention

to engage in conduct protected by the Constitution. See, e.g., Susan B. Anthony List, 573

U.S. at 162 (recognizing pre-enforcement review where plaintiff intended to engage in

constitutionally protected speech); Barilla v. City of Houston, 13 F.4th 427, 432-433 (5th

Cir. 2021) (same); Speech First, Inc. v. Fenves, 979 F.3d 319, 332 (5th Cir. 2020) (same);

National Rifle Ass’n of Am. v. McCraw, 719 F.3d 338, 345 (5th Cir. 2013) (recognizing

pre-enforcement review where plaintiff intended to engage in constitutionally

protected Second Amendment activity). In particular, plaintiffs testified that they do

not have any religious objections to the interpretation in HHS’s notification.

ROA.618; ROA.662.

       More fundamentally, plaintiffs have not demonstrated that their intended

course of conduct is even arguably proscribed by Section 1557 or that they face a

credible threat of enforcement under Section 1557 sufficient to demonstrate an

Article III injury. As to sexual-orientation discrimination, both plaintiffs testified that

they have not engaged in sexual-orientation discrimination and do not intend to do

so, and they admit that they were not harmed by HHS’s interpretation prohibiting

such discrimination. ROA.611 (“I treat gay and lesbian patients frequently, if not

daily. I cannot recall ever refusing care to any of them.”); ROA.616 (“I have never

engaged in conduct that I regard as ‘discrimination on the basis of sexual orientation,’
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or that I believe Secretary Becerra would regard as ‘discrimination on the basis of

sexual orientation.’”); ROA.617; ROA.722:6-723:16 (“Q[:] When HHS . . . interpreted

section 1557 to prohibit discrimination on the basis of sexual orientation, do you

believe that harmed you [in] any way? A[:] No.”); ROA.660-661; ROA.778:7-22.

      As to gender-identity discrimination, plaintiffs have not demonstrated that they

intend to engage in any conduct that HHS views as gender-identity discrimination.

Dr. Neese manages the hormone therapy of her adult transgender patients without

objection. ROA.420, ¶ 8 (“I have several . . . transgender patients[] . . . for whom I

manage their hormones and all their other medical conditions. These patients are all

in their 30s or 40s.”); ROA.420, ¶ 7; ROA.611 (“I do not refuse to provide [my

transgender patients] services.”). Although she is unwilling to assist minors with

transitioning, Dr. Neese explained that she did not believe she could appropriately

manage the transition of a minor, as “[t]hese are complex medical issues which I do

not specialize in,” ROA.612, and that she would not be “comfortable [managing] a

teenager transition due to the complexity of the medical and emotional issues that

case would present,” ROA.420, ¶ 9. See also ROA.731:3-13 (testifying that she is “not

familiar” with the medical processes for managing gender transition for a patient who

is going through puberty).

      Plaintiffs do not explain how a medical provider’s refusal to provide services

outside their specialty area could be considered gender-identity discrimination. And

HHS has never taken the position that declining to provide services outside a
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physician’s area of specialty constitutes gender-identity discrimination. To the

contrary, the 2022 NPRM emphasizes that the proposed rule would “not require

health care professionals to perform services outside of their normal specialty area;

therefore a provider that declines to provide services outside its specialty area would

have a legitimate, nondiscriminatory reason for its action.” 87 Fed. Reg. at 47,867.

      Dr. Neese and Dr. Hurly also assert that they are concerned that HHS will

conclude that they have engaged in gender-identity discrimination if they provide

medical care to transgender patients that is consistent with the patient’s sex

characteristics, such as recommending that a transgender man undergo a pelvic exam

or diagnosing a transgender woman with prostate cancer. But plaintiffs do not

explain how a medical provider’s care based on a transgender patient’s physiological

sex characteristics could be considered gender-identity discrimination, and HHS has

never taken the position that such conduct constitutes gender-identity discrimination.

Indeed, HHS explained in the 2022 NPRM that it would not consider such conduct to

be gender-identity discrimination. The proposed rule would not “prohibit a covered

entity from treating an individual for conditions that may be specific to their sex

characteristics,” such as treating a transgender man with a pregnancy test. 87 Fed.

Reg. at 47,866. To the contrary, under the proposed rule, denying transgender patients

medically appropriate care based on their sex characteristics would constitute unlawful

gender-identity discrimination. Id. at 47,865. In other words, it would be gender-


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identity discrimination to deny a pelvic exam to a transgender man in need of such

services if the provider provides pelvic exams to cisgender women. Id.

       2.     The district court acknowledged the government’s argument that HHS

does not consider plaintiffs’ intended conduct to constitute gender-identity

discrimination, as reflected in HHS’s 2022 NPRM. ROA.1152-1153. However, the

court incorrectly treated that as a mootness argument and rejected it. ROA.1152-

1153. The court reasoned that the NPRM does not “withdraw or nullify” the

challenged Notice of Interpretation. ROA.1153.

       The district court misunderstood the government’s argument as to the NPRM.

This case does not involve a question of mootness, where the government would bear

the burden of showing that a change in circumstances rendered a once-live claim

moot. See Environmental Conservation Org. v. City of Dallas, 529 F.3d 519, 527 (5th Cir.

2008) (defendant bears the burden of demonstrating mootness). Instead, the question

here is whether plaintiffs have demonstrated a credible threat that HHS will view their

proposed conduct as discriminatory and initiate some type of enforcement action

against them—a question of standing on which plaintiffs have the burden of proof. See

Ford v. NYLCare Health Plans of Gulf Coast, Inc., 301 F.3d 329, 332-333 (5th Cir. 2002)

(“At the summary judgment stage, ‘the plaintiff can no longer rest on . . . mere

allegations, but must set forth by affidavit or other evidence specific facts’” to satisfy

their burden of demonstrating standing (quoting Lujan v. Defenders of Wildlife, 504 U.S.

555, 561 (1992))).
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      Plaintiffs have not met their burden. The NPRM is not a change that mooted

plaintiffs’ claims; it merely underscores what was true before: that plaintiffs’ intended

conduct does not constitute gender-identity discrimination. HHS has consistently

maintained this position, and it is now reflected in the NPRM. See ROA.139-140

(arguing in the government’s motion to dismiss—prior to the issuance of the

NPRM—that plaintiffs have not plausibly alleged that the challenged Notice of

Interpretation will prohibit plaintiffs’ intended conduct); ROA.577-578 (explaining

that “in cases evaluating claims of unlawful discrimination under federal civil rights

laws, courts generally allow a defendant ‘to articulate some legitimate,

nondiscriminatory reason’ for taking an action that would constitute prima facie

discrimination” (quoting McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973))).

Indeed, HHS has never enforced Section 1557 in the manner that plaintiffs fear, nor

suggested that it would do so.

      The district court also erred in concluding that “a provider can only guess as to

whether the powers that be at HHS will regard its refusal to provide puberty blockers

to a minor as ‘legitimate’ or ‘nondiscriminatory.’” ROA.1153. HHS has never stated

or even suggested that a medical provider’s refusal to provide services outside its

specialty area could constitute discrimination, let alone brought an enforcement action

for such conduct. That is the sole conduct at issue as related to Dr. Neese’s refusal to

assist minors with gender transition. See ROA.420, ¶ 9; ROA.731:3-13 (testifying that

she is “not familiar” with the medical processes for managing gender transition for a
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patient who is going through puberty). Moreover, the 2022 NPRM explains that the

proposed rule “does not require health care professionals to perform services outside

of their normal specialty area; therefore a provider that declines to provide services

outside its specialty area would have a legitimate, nondiscriminatory reason for its

action.” 87 Fed. Reg. at 47,867.

       The district court further erred in concluding that the Notice of

Interpretation’s statement that HHS will comply with the Religious Freedom

Restoration Act (RFRA) and all other legal requirements indicates that plaintiffs have

demonstrated a credible threat of enforcement because they “(1) do not invoke RFRA

and (2) have not argued they are protected by another federal law or court order

preventing enforcement.” ROA.259. HHS’s statement confirming that it will comply

with all applicable legal requirements in no way demonstrates that HHS will bring an

enforcement action against plaintiffs for declining to provide services outside their

areas of specialty or for providing medical care for transgender patients consistent

with their physiological sex characteristics.

II.    Plaintiffs’ Claims Are Not Reviewable.

       A.     The Notice of Interpretation is Not Final Agency Action
              Because it Has No Binding Legal Effect on Plaintiffs.
       1.     Judicial review under the APA is generally limited to “final agency

action.” 5 U.S.C. § 704. Such action must (1) represent “the consummation of the

agency’s decisionmaking process,” and (2) conclusively determine legal “rights or


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obligations.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (quotation marks omitted).

Even assuming that HHS’s Notice of Interpretation reflects the consummation of the

agency’s views about how best to read Title IX and Section 1557, it does not

determine any legal rights or obligations.

       The Notice of Interpretation simply informs the public of HHS’s interpretation

of Section 1557 in light of the Supreme Court’s decision in Bostock v. Clayton County,

140 S. Ct. 1731 (2020); it “create[s] no new legal obligations beyond those the [statute]

already imposed.” Rhea Lana, Inc. v. Department of Labor, 824 F.3d 1023, 1028 (D.C.

Cir. 2016); see also National Pork Producers Council v. U.S. EPA, 635 F.3d 738, 756 (5th

Cir. 2011). Additionally, the Notice of Interpretation does not bind the agency or

compel it to reach a particular conclusion about any particular set of facts. 86 Fed.

Reg. at 27,985 (“This interpretation will guide OCR in processing complaints and

conducting investigations, but does not itself determine the outcome in any particular

case or set of facts.”); see also Cement Kiln Recycling Coal. v. EPA, 493 F.3d 207, 228

(D.C. Cir. 2007) (noting that non-binding disclaimers are “relevant to the conclusion

that a guidance document is non-binding”).

       Moreover, under HHS’s enforcement framework, many steps must occur

before any enforcement action or termination of federal funding, which underscores

that the Notice of Interpretation does not conclusively determine any legal rights or

obligations. Prior to any enforcement action or termination of federal funding, HHS

would first have to “advise[] the appropriate person . . . of the failure to comply with
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the requirement and . . . determine[] that compliance cannot be secured by voluntary

means.” 20 U.S.C. § 1682; 42 U.S.C. § 18116(a) (incorporating the enforcement

mechanisms under referenced statutes, including Title IX). Additionally, prior to the

termination of federal funding, there would need to be an administrative hearing and

an “express finding on the record . . . of a failure to comply with such requirement,”

and notice to congressional committees. 20 U.S.C. § 1682. Finally, the statute

expressly provides for judicial review. 20 U.S.C. § 1683.

      2.     The district court’s reliance on Texas v. EEOC, 933 F.3d 433, 443-446

(5th Cir. 2019), is misplaced. In that case, this Court determined that an EEOC

Notice of Interpretation was final agency action reviewable under the APA where it

was binding on EEOC staff, limited their discretion, and, by its terms, “le[ft] no room

for EEOC staff not to” take certain action. Id. at 443. This Court also emphasized

that the EEOC guidance “explicitly declare[d] that it [wa]s intended to be a playbook

for employers to use to avoid liability.” Id. at 444. This Court thus concluded that the

guidance “carrie[d] legal consequences and dictate[d] employers’ rights and

obligations.” Id. at 443. In contrast, the HHS Notice of Interpretation does not bind

the agency to a legal position with respect to any particular medical procedure or set

of facts. Indeed, the HHS Notice of Interpretation explicitly provides that it “does

not itself determine the outcome in any particular case or set of facts.” 86 Fed. Reg.

at 27,985. Nor does it create safe harbors for avoiding liability. Thus, unlike the

EEOC guidance at issue in Texas v. EEOC, no legal consequences flow from the
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HHS Notice of Interpretation here, and therefore it is not final agency action

reviewable under the APA.

      B.     Plaintiffs Have an Adequate Alternative Remedy that
             Forecloses Pre-Enforcement Review Now.

      1.     As this Court has recognized, Section 704 also “limits the APA to the

review of those agency actions which otherwise lack an ‘adequate remedy in a court.’”

Hinojosa v. Horn, 896 F.3d 305, 310 (5th Cir. 2018) (per curiam) (citing Bowen v.

Massachusetts, 487 U.S. 879, 903 (1988)); 5 U.S.C. § 704. The relief offered by the

“alternat[e] remedy” will “be deemed adequate ‘where a statute affords an opportunity

for de novo district-court review’ of the agency action.” Garcia v. Vilsack, 563 F.3d 519,

522-523 (D.C. Cir. 2009).

      That standard is met here: in any enforcement action brought against plaintiffs

based on the legal interpretation expressed in HHS’s Notice of Interpretation, that

interpretation will be subject to de novo review by a court. See 42 U.S.C. § 18116(a)

(incorporating the enforcement mechanisms under referenced statutes, including Title

IX); see also 20 U.S.C. § 1682 (administrative process under Title IX); id. § 1683

(judicial review under Title IX). Indeed, HHS would not seek deference to the

interpretation expressed in the non-binding Notice of Interpretation in any future

enforcement action. Section 1557 thus “provides a direct and guaranteed path to

judicial review.” Hinojosa, 896 F.3d at 312.




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       2.     The district court erred in concluding that plaintiffs do not have an

adequate alternative remedy because plaintiffs could not obtain equitable relief in an

enforcement action. ROA.268. As this Court has explained, “[t]he adequacy of the

[alternative] relief available need not provide an identical review that the APA would

provide.” Hinojosa, 896 F.3d at 310. To determine whether alternative relief is

adequate, the court must “look[] specifically at the party seeking relief and its

particular claim.” Id. at 311. Here, plaintiffs seek a declaration that the interpretation

of discrimination on the basis of sex in HHS’s Notice of Interpretation is unlawful.

ROA.108-109. If HHS were to bring an enforcement action against plaintiffs based

on the legal interpretation expressed in that document, that interpretation would be

subject to judicial review.

       The district court further erred in relying on Sackett v. EPA, 566 U.S. 120

(2012), to conclude that requiring plaintiffs to wait to make their arguments in an

enforcement proceeding “would defeat the purpose of a pre-enforcement challenge.”

ROA.269. As an initial matter, the Supreme Court has made clear that there is no

“unqualified right to pre-enforcement review.” Whole Woman’s Health, 142 S. Ct. at

537-538. The default rule under the APA is that challenges to agency action are raised

as defenses in an enforcement action. See 5 U.S.C. § 703 (providing that “agency

action is subject to judicial review in civil or criminal proceedings for judicial

enforcement”); PDR Network, LLC v. Carlton & Harris Chiropractic, Inc., 139 S. Ct.

2051, 2059 (2019) (Kavanaugh, J., concurring in the judgment) (similar). And this
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Court has explained that a “legal remedy is not inadequate for purposes of the APA

because it is procedurally inconvenient for a given plaintiff.” Martinez v. Pompeo, 977

F.3d 457, 460 (5th Cir. 2020) (per curiam) (quoting Town of Sanford v. United States, 140

F.3d 20, 23 (1st Cir. 1998)).

       In any event, this case is nothing like Sackett. In that case, the agency had

issued a compliance order directly to the plaintiffs informing them that their land was

subject to certain restrictions, that the compliance order represented the agency’s final

word on that matter, that the plaintiffs were therefore forbidden from undertaking a

proposed construction project, and that failure to comply would result in significant

penalties that would be measured from the date of the compliance order. See Sackett,

566 U.S. at 124-125. Here, as explained above, plaintiffs face no immediate

consequences from the Notice of Interpretation. Supra Part I. Plaintiffs have not

identified any complaint or investigation arising from the Notice of Interpretation, or

identified any aspect of their practice that conflicts with it. Moreover, the notice does

not impose any obligations or consequences independent from the underlying

prohibition against sex discrimination in Section 1557.

       C.     Plaintiffs’ Challenge is Independently Barred Under
              Thunder Basin.

       Where it is “fairly discernible” that an elaborate statutory review scheme for

administrative enforcement proceedings was intended to create an exclusive remedy,

parallel jurisdiction outside that scheme is precluded. See Thunder Basin Coal Co. v.

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Reich, 510 U.S. 200, 207, 216 (1994) (quotation omitted). Even where exclusivity is

fairly discernible from the statutory scheme, particular claims may proceed outside

that scheme if they are not “of the type Congress intended to be reviewed within th[e]

statutory structure.” Id. at 212; see also Bank of Louisiana v. Federal Deposit Ins. Corp., 919

F.3d 916, 925 (5th Cir. 2019). The Court “presum[es] that Congress does not intend

to limit . . . jurisdiction” if (1) “a finding of preclusion could foreclose all meaningful

judicial review,” (2) the suit is “wholly collateral to a statute’s review provisions,” and

(3) the claims lie “outside the agency’s expertise.” Elgin v. Department of the Treasury,

567 U.S. 1, 15 (2012) (citation omitted) (quoting Free Enter. Fund v. Public Accounting

Oversight Bd, 561 U.S. 477, 489 (2010)).

       That rule is fatal to plaintiffs’ challenge. Congress did not intend to permit pre-

enforcement review of Section 1557 claims because it provided an elaborate

procedural scheme for administrative enforcement proceedings that culminates in the

opportunity for judicial review. See 42 U.S.C. § 18116(a) (incorporating the

enforcement mechanisms under referenced statutes, including Title IX); see also 20

U.S.C. § 1682 (administrative process under Title IX); id. § 1683 (judicial review under

Title IX); Bowen, 487 U.S. at 903 (“Congress did not intend the general grant of review

in the APA to duplicate existing procedures for review of agency action.”).

       In Thunder Basin, a mine operator brought a pre-enforcement challenge to an

agency’s interpretation of a statute, which could have formed the basis for

enforcement action against the operator. See 510 U.S. at 216. Confronted with a
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review process remarkably similar to that found in Title IX and Section 1557, the

Supreme Court held that Congress’s intent to preclude pre-enforcement judicial

review was “fairly discernible in the statutory scheme” under the Federal Mine Safety

Act of 1977. Id. at 207 (citation omitted); see 30 U.S.C. § 801 et seq. The Court

therefore rejected the mine operator’s attempt to bring a pre-enforcement challenge

to the agency’s interpretation. See Thunder Basin, 510 U.S. at 207-208. The same result

is warranted here. Cf. Rogers v. Bennett, 873 F.2d 1387 (11th Cir. 1989) (same result

under the parallel disability rights statute); Taylor v. Cohen, 405 F.2d 277 (4th Cir. 1968)

(same result under Title VI, parallel race discrimination statute).

       Additionally, there is no sound basis for concluding that plaintiffs’ claims are

“of the type Congress intended to be reviewed [outside] th[e] statutory structure.”

Thunder Basin, 510 U.S. at 212. First, a finding that the administrative review scheme

precludes pre-enforcement review would not “foreclose all meaningful judicial

review,” Bank of Louisiana., 919 F.3d at 925, because the administrative review scheme

culminates in the opportunity for judicial review, 20 U.S.C. § 1683. Second, plaintiffs’

claims are not “wholly collateral” to the administrative review scheme. Bank of

Louisiana., 919 F.3d at 928. Instead, their claims are “inextricably intertwined” with

the issue that would be at the heart of any future enforcement proceeding: whether

certain conduct constitutes unlawful discrimination under Section 1557. Id.

       Third, plaintiffs’ claims are not outside of HHS’s expertise. As this Court has

explained, “there are precious few cases involving interpretations of statutes
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authorizing agency action in which our review is not aided by the agency’s statutory

construction.” Bank of Louisiana., 919 F.3d at 928 (quoting Jarkesy v. S.E.C., 803 F.3d

9, 29 (D.C. Cir. 2015)). This Court has also explained that this factor points toward

finding that the district court lacked subject matter jurisdiction if the agency could

find plaintiffs “innocent of the statutory violations it was accused of committing.” Id.

at 929. Here, if a patient filed a complaint with HHS and accused plaintiffs of

violating Section 1557 by refusing to provide services outside their specialty and

providing medically appropriate care to transgender patients consistent with their

physiological sex characteristics, then HHS could conclude that the relevant conduct

is not unlawful sex discrimination under Section 1557.

       For these reasons, the district court lacked jurisdiction over plaintiffs’ claims.

III.   The Notice of Interpretation Is Not Contrary to Law Because
       Bostock’s Reasoning Applies to Title IX and Section 1557.

       A.     The Supreme Court’s reasoning for its conclusion in Bostock that Title

VII’s prohibition against sex discrimination encompasses discrimination on the basis

of sexual orientation and gender identity applies to the prohibitions against sex

discrimination in Title IX and Section 1557. HHS’s challenged Notice of

Interpretation is thus lawful.

       As the Supreme Court explained in Bostock, “it is impossible to discriminate

against a person for being homosexual or transgender without discriminating against




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that individual based on sex.” 140 S. Ct. at 1741.2 Similarly, under Title IX and

Section 1557, a covered entity discriminates on the basis of sex when it discriminates

on the basis of sexual orientation or gender identity.

       For example, if a medical provider refuses to treat the broken bone of a

transgender man because he presents as a man but was assigned female at birth, but

would treat the broken bone of a similarly situated cisgender man who presents as a

man and was assigned male at birth, the provider is discriminating on the basis of sex.

As the Supreme Court explained in Bostock, if an employer fires a transgender woman

who was assigned male at birth but retains an otherwise identical employee who was

assigned female at birth, “the employer intentionally penalizes a person identified as

male at birth for traits or actions that it tolerates in an employee identified as female at

birth.” 140 S. Ct. at 1741. Thus, “the individual employee’s sex plays an

unmistakable and impermissible role in the discharge decision.” Id. at 1741-1742.

       Similarly, if a university refuses to enroll a lesbian student into an English class

because she is attracted to women, but enrolls similarly situated male students who are

attracted to women, the university is discriminating on the basis of sex. See Bostock,

140 S. Ct. at 1741 (“If the employer fires the male employee for no reason other than

the fact he is attracted to men, the employer discriminates against him for traits or

actions it tolerates in his female colleague.”).


       2
        As in Bostock, this Court can assume without deciding that “‘sex’ . . . refer[s]
only to biological distinctions between male and female.” 140 S. Ct. at 1739.
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       Although Bostock involved Title VII, the Supreme Court and courts of appeals,

including this Court, consistently look to interpretations of Title VII to inform Title

IX because both statutes prohibit discrimination on the basis of sex using nearly

identical language. See, e.g., Franklin v. Gwinnett Cty. Pub. Sch., 503 U.S. 60, 75 (1992)

(citing Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57 (1986), a Title VII case, in

analyzing a Title IX claim); Carder v. Continental Airlines, Inc., 636 F.3d 172, 180 (5th

Cir. 2011) (“Based on its legislative history, this court has interpreted Title IX as being

intended to prohibit a wide spectrum of discrimination . . . in the same manner as

Title VII.”); Lakoski v. James, 66 F.3d 751, 756 (5th Cir. 1995) (“Any difference

between their prohibitions of sex discrimination is not compelled by statutory

language.”); Grimm v. Gloucester Cty. Sch. Bd., 972 F.3d 586, 616 (4th Cir. 2020), reh’g en

banc denied, 976 F.3d 399 (4th Cir. 2020), cert. denied, 141 S. Ct. 2878 (2021) (“Although

Bostock interprets Title VII,” “it guides our evaluation of claims under Title IX.”);

Gossett v. Oklahoma ex rel. Bd. of Regents for Langston Univ., 245 F.3d 1172, 1176 (10th Cir.

2001) (“Courts have generally assessed Title IX discrimination claims under the same

legal analysis as Title VII claims.”); Murray v. New York Univ. Coll. of Dentistry, 57 F.3d

243, 248 (2d Cir. 1995) (collecting cases); Mabry v. State Bd. of Cmty. Colls. &

Occupational Educ., 813 F.2d 311, 317 n.6 (10th Cir. 1987) (“Because Title VII prohibits

the identical conduct prohibited by Title IX, i.e., sex discrimination, we regard it as the

most appropriate analogue[.]”). Accordingly, Bostock’s analysis of the prohibition

against sex discrimination in Title VII informs the interpretation of the prohibition
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against sex discrimination in Title IX. And Section 1557 prohibits discrimination

based on the “ground[s] prohibited under” Title IX. 42 U.S.C. § 18116(a).

       The Fourth and Ninth Circuits have specifically concluded that the rationale of

Bostock applies to Title IX. In Grimm, the Fourth Circuit held that a school’s restroom

policy requiring students to use restrooms based on their sex assigned at birth

discriminated against a transgender male student on the basis of sex in violation of

Title IX. 972 F.3d at 616. The Fourth Circuit explained that because the school

“could not exclude [the transgender student] from the boys bathroom without

referencing his” sex assigned at birth, “his sex remains a but-for cause” for the

school’s actions. Id.; see also Bostock, 140 S. Ct. at 1739 (“So long as the plaintiff’s sex

was one but-for cause of that decision, that is enough to trigger the law.”).

       Similarly, in Doe v. Snyder, 28 F.4th 103 (9th Cir. 2022), the Ninth Circuit

concluded that Bostock applies to Title IX and Section 1557. The Ninth Circuit

explained that it “construe[s] Title IX’s protections consistently with those of Title

VII” and that “[g]iven the similarity in language prohibiting sex discrimination in

Titles VII and IX, we do not think Bostock can be limited” to Title VII.” Id. at 114.

       B.     In district court, plaintiffs conceded that the rationale of Bostock applies

to Title IX and Section 1557, but argued that Bostock allows medical providers to

discriminate on the basis of sexual orientation or gender identity so long as they

would have acted in the same manner if the patient had been a member of the

opposite “biological sex.” ROA.409-410. The district court acknowledged plaintiffs’
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concession that “Bostock applies to Title IX and [S]ection 1557,” ROA.1174, but

rejected that premise and instead ruled in plaintiffs’ favor on a much broader theory:

that Bostock’s reasoning does not apply at all. As plaintiffs appeared to recognize by

making a more limited argument below, the district court erred; the logic and

reasoning of Bostock apply to Title IX and Section 1557.

       The district court noted that “Bostock does not purport to interpret Section

1557, Title IX, or any other non-Title VII statute.” ROA.1174. But that observation

provides no basis for ignoring the clear implications of Bostock’s reasoning for Title IX

and Section 1557, which similarly prohibit discrimination on the basis of sex.

Although the Supreme Court only analyzed Title VII in Bostock, indicating that it

would “not prejudge” future cases, 140 S. Ct. at 1753, the Court’s central conclusion

that “it is impossible to discriminate against a person for being homosexual or

transgender without discriminating against that individual based on sex,” id. at 1741,

applies to Title IX and Section 1557. The district court nowhere explained how a

covered entity could discriminate on the basis of sexual orientation or gender identity

without discriminating based on sex in violation of Title IX and Section 1557.

       The district court further erred in concluding that Bostock does not apply to

Title IX or Section 1557 because Title VII prohibits discrimination “because of” sex,

whereas Title IX prohibits discrimination “on the basis of” sex. ROA.1179. This

slight difference in language is irrelevant to the reasoning set forth in Bostock. Indeed,

in Bostock itself, the Supreme Court used the phrases “because of,” “based on,” and
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“on the basis of” interchangeably. See, e.g., Bostock, 140 S. Ct. at 1753 (“employers are

prohibited from firing employees on the basis of homosexuality or transgender status”

(emphasis added)); id. at 1741 (“An employer violates Title VII when it intentionally

fires an individual employee based in part on sex.” (emphasis added)); id. (“it is

impossible to discriminate against a person for being homosexual or transgender

without discriminating against that individual based on sex” (emphasis added)); id. at

1743 (“For an employer to discriminate against employees for being homosexual or

transgender, the employer must intentionally discriminate against individual men and

women in part because of sex.” (emphasis added)); id. at 1747 (“discrimination based on

homosexuality or transgender status necessarily entails discrimination based on sex”

(emphasis added)); see also Snyder, 28 F.4th at 114 (“While the language in Title VII is

‘because of sex’ and the language in Title IX is ‘on the basis of sex,’ Bostock used those

phrases interchangeably throughout the decision.”).

       Both the Supreme Court and this Court have consistently construed Title VII

and Title IX to provide similar protections against sex discrimination, despite minor

differences in language. See, e.g., Franklin, 503 U.S. at 75 (explaining that Title IX

imposes “the duty not to discriminate on the basis of sex, and ‘when a supervisor

sexually harasses a subordinate because of the subordinate’s sex, that supervisor

“discriminate[s]” on the basis of sex’” (emphases added) (quoting Meritor Sav. Bank, 477

U.S. at 64); Pederson v. Louisiana State Univ., 213 F.3d 858, 880 (5th Cir. 2000)

(explaining that a Title IX violation is present where an “institution intended to treat
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women differently because of their sex” (emphasis added)); Lakoski, 66 F.3d at 757

(collecting cases and explaining that “Title IX’s proscription of sex discrimination[]

. . . does not differ from Title VII’s”).

       The district court reasoned that these cases do not “have much force here”

because they “consider only Title IX’s application to biological sex.” ROA.1176. But

as explained above, this Court can assume without deciding that “‘sex’ . . . refer[s]

only to biological distinctions between male and female,” as the Supreme Court did in

Bostock. 140 S. Ct. at 1739. Again, the district court nowhere explained how an entity

could discriminate on the basis of sexual orientation or gender identity without

discriminating on the basis of sex. Moreover, several other courts of appeals had

previously concluded that Title IX prohibits gender-identity discrimination, even

before Bostock. See Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,

858 F.3d 1034, 1049-1050 (7th Cir. 2017); Dodds v. U.S. Dep’t of Educ., 845 F.3d 217,

221-222 (6th Cir. 2016) (per curiam); cf. Doe by & through Doe v. Boyertown Area Sch.

Dist., 897 F.3d 518, 535 (3d Cir. 2018); Parents for Privacy v. Barr, 949 F.3d 1210, 1217

(9th Cir. 2020).

       The district court further erred in relying on provisions of Title IX and a

Department of Education regulation explaining that sex-separate bathrooms and

locker rooms are permissible to support its conclusion that Bostock’s reasoning is

inapplicable to Title IX and Section 1557. The court suggested that these provisions

are “safe harbors” that would not be possible if Title IX prohibited gender-identity
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discrimination. ROA.1181. But the court’s conclusion rests on a misunderstanding

of the relevant statutory and regulatory provisions.

       Section 1686 of Title IX states that “nothing contained herein shall be

construed to prohibit any educational institution receiving funds under this Act, from

maintaining separate living facilities for the different sexes.” 20 U.S.C. § 1686. The

implementing regulation states that educational institutions “may provide separate

toilet, locker room, and shower facilities on the basis of sex, but such facilities

provided for students of one sex shall be comparable to such facilities provided for

students of the other sex.” 34 C.F.R. § 106.33.

       As the Fourth Circuit explained in Grimm, these provisions are not “safe

harbors” allowing discrimination based on gender identity; instead, they clarify “that

the act of creating sex-separated [facilities] in and of itself” does not violate Title IX.

972 F.3d at 618 & n.16. Regardless of how provisions permitting the separation of

students by sex apply to policies on who can access sex-separate spaces, such

provisions say nothing about whether Title IX and Section 1557 generally prohibit

discrimination on the basis of gender identity in other contexts. Indeed, plaintiffs’

health care practices are not affected in any way by the Title IX provisions regarding

sex-separate facilities.3


       3
        For similar reasons, Adams by & through Kasper v. School Board of St. Johns Cty.,
57 F.4th 791 (11th Cir. 2022), provides no support for the district court’s broad
conclusion that Bostock does not apply to Title IX or Section 1557. In Adams, the
                                                                           Continued on next page.
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       Finally, the district court erred in reasoning that Bostock’s rationale does not

apply to Title IX and Section 1557 because this would undermine “one of [Title IX’s]

major achievements, giving young women an equal opportunity to participate in

sports.” ROA.1181 (quoting Bostock, 140 S. Ct. at 1779 (Alito, J., dissenting)). But the

issue of whether Title IX and Section 1557 generally prohibit gender-identity

discrimination does not turn on the specifics of how students will be deemed eligible

for certain sex-separate sports teams. Moreover, the Department of Education

explained in a recent NPRM that the application of Title IX to students’ eligibility to

participate on a particular male or female athletics team will be addressed in a

forthcoming notice of proposed rulemaking. See 87 Fed. Reg. 41,390, 41,538 (July 12,

2022). The Department of Education explained that, under certain circumstances,

Title IX allows the Department to permit sex separation in athletics in ways that Title

IX would otherwise prohibit. See id. (“[A]s to intercollegiate athletics, Congress

contemplated that the Department might promulgate regulations that permit sex

separation in contexts and in a manner that Title IX might otherwise prohibit, as long

as such regulations are ‘reasonable’ and result in overall equality in athletic



Eleventh Circuit held that a school’s restroom policy prohibiting a transgender male
student from using the boys’ restroom did not violate Title IX, but its holding and
reasoning were limited to the specific context of sex-separate facilities. See id. at 815
(holding that the school’s restroom policy was authorized by the Title IX provisions
permitting separate facilities based on sex). The Eleventh Circuit did not address
whether Title IX prohibits gender-identity discrimination outside of that specific
context.
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opportunities for the sexes”). Accordingly, the district court erred in concluding that

the application of Bostock’s reasoning to Title IX and Section 1557 outside the context

of athletics would necessarily disadvantage cisgender females.

                                   CONCLUSION

      For the foregoing reasons, the judgment of the district court should be vacated

and remanded with instructions to dismiss for lack of jurisdiction.



                                               Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 27, 2023, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system.




                                                s/ Ashley C. Honold
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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

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                                               s/ Ashley C. Honold
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42 U.S.C. § 18116
§ 18116. Nondiscrimination
(a) In general
Except as otherwise provided for in this title (or an amendment made by this title), an
individual shall not, on the ground prohibited under title VI of the Civil Rights Act of
1964 (42 U.S.C. 2000d et seq.), title IX of the Education Amendments of 1972 (20
U.S.C. 1681 et seq.), the Age Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or
section 794 of Title 29, be excluded from participation in, be denied the benefits of,
or be subjected to discrimination under, any health program or activity, any part of
which is receiving Federal financial assistance, including credits, subsidies, or contracts
of insurance, or under any program or activity that is administered by an Executive
Agency or any entity established under this title (or amendments). The enforcement
mechanisms provided for and available under such title VI, title IX, section 794, or
such Age Discrimination Act shall apply for purposes of violations of this subsection.
(b) Continued application of laws
Nothing in this title (or an amendment made by this title) shall be construed to
invalidate or limit the rights, remedies, procedures, or legal standards available to
individuals aggrieved under title VI of the Civil Rights Act of 1964 (42 U.S.C. 2000d
et seq.), title VII of the Civil Rights Act of 1964 (42 U.S.C. 2000e et seq.), title IX of
the Education Amendments of 1972 (20 U.S.C. 1681 et seq.), section 794 of Title 29,
or the Age Discrimination Act of 1975, or to supersede State laws that provide
additional protections against discrimination on any basis described in subsection (a).
(c) Regulations
The Secretary may promulgate regulations to implement this section.




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20 U.S.C. § 1681(a)
§ 1681. Sex
(a) Prohibition against discrimination; exceptions
No person in the United States shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to discrimination under any
education program or activity receiving Federal financial assistance . . .




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20 U.S.C. § 1686
§ 1686. Interpretation with respect to living facilities
(a) Notwithstanding anything to the contrary contained in this chapter, nothing
contained herein shall be construed to prohibit any educational institution receiving
funds under this Act, from maintaining separate living facilities for the different sexes.




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34 C.F.R. § 106.33
§ 106.33. Comparable facilities.
A recipient may provide separate toilet, locker room, and shower facilities on the basis
of sex, but such facilities provided for students of one sex shall be comparable to such
facilities provided for students of the other sex.




                                          A4
